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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )                   8:16CR173
                       Plaintiff,                )
                                                 )
       vs.                                       )                    ORDER
                                                 )
ALEJANDRA ALVAREZ-ROMERO,                        )
EDWIN MUNOZ and                                  )
RAUL VASQUEZ,                                    )
                                                 )
                       Defendants.               )


       This matter is before the court on the motion for an extension of time by defendant Raul
Vasquez (Vasquez) (Filing No. 64).       Vasquez seeks an extension until November 16, 2016, in
which to file pretrial motions in accordance with the progression order (Filing No. 49) as extended.
Vasquez's counsel represents Vasquez will file an affidavit wherein he consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Vasquez's counsel represents that government's counsel has no objection to the
motion. Previously, the court has extended the pretrial motion deadline as to co-defendants
Alvarez-Romero and Munoz to October 24, 2016. Upon consideration, Vasquez's motion will be
granted and the pretrial motion deadline will be extended to November 16, 2016, for all defendants.


       IT IS ORDERED:
       1.      Defendant Vasquez's motion for an extension of time (Filing No. 64) is granted.
       2.      Vasquez and all other defendants are given until on or before November 16, 2016,
in which to file pretrial motions pursuant to the progression order. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motions, i.e., the time

between October 13, 2016, and November 16, 2016, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendants'
counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
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    DATED this 13th day of October, 2016.
                                              BY THE COURT:

                                              s/ Thomas D. Thalken
                                              United States Magistrate Judge




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